Case 2:04-cr-20081-.]Pi\/| Document 133 Filed 08/29/05 Page 1 of 7 PageiD 206
`Fil.ED By _

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FOR THE WEsTERN oisTRicT oF TENNEssEE 05 AUG 29 AH .
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C WOMASi,:
. LERK !<‘U.S. '}EFQ)“"‘TMT
uNiTEo sTATEs or AMERch, * iiii)c 0» 15 nw
Plaimirr, *
vs. * Criminal No. 04-20081-i\/ll V
elLi_Y THOMAS PHlLLlPs, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

in indictment Number04-20081-N|i V, the United States sought forfeiture of specific
property of defendant Biiiy Thomas Phiiiips, pursuant to 18 U.S.C. §§ 2251 and 2252. On
February 22, 2005, the defendant, Biiiy Thomas Phi|iips, entered a plea ofguilty to Counts
2, 3, 4 and additionally agreed to forfeit to the United States all his right, title and interest
in ali property set forth in the “Forfeiture Ai|egations“ section of Count 7 of the indictment
Accordingiy, it is ORDERED:

1. Based upon the defendants guilty plea to Counts 2, 3, 4 and agreement to
forfeit to the United States ali his right, title and interest in ali property set forth in the
"Forfeiture Aiiegations" section of Count 7 of the indictment Number 04-20081-|\/|1 V, the
United States is authorized to seize the following property belonging to defendant Bi|iy
Thomas Phiiiips, and his interest in it is hereby forfeited to the United States for disposition
in accordance with the law, subject to the provisions of 21 U.S.C. §853(n) and Rule
32(d)(2) of the Federai Rules of Criminal Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United

Th|s document entered on the docket sheet in compliance
with Rule 55 ami/or e2(b) rech on ‘ “ 5 /

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States Code, and any book, magazine, periodica|, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
foilowing:

1) One (1) iViaxeii i\/iini CR-R 210mb;

2) HlVAL i\/iuitimedia So|utions CD-
Recordabie Disk;

3) Compaq Presario Laptop Computer,
serial number V2AKSB25303;

4) Generic Cione Computer with Goid
Phi|lips CD-ROIV| & Creative Live Drive;

5) Packard Bei| Desktop Computer, serial
number, N368022180;

6) Generic Cione Computer, SN D87508B63.

A|i pursuant to Titie 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States iViarshai in his
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States i\/|arshai shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Sheiby County, Tennessee, notice of this orderl notice of the United States’ intent to

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dispose of the property in such manner as the Attorney Generai or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioners alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioners right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioners claim
and the relief sought. The United States iViarsha| or his delegate may use the attached
Lega| Notice.

The United States may aiso, to the extent practicabie, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Pre|iminary Order of Forfeiture, as a substitute for published notice as to those persons so
noUHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Pre|iminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. if no third party files a timely ciaim, this Order shall become the Finai Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have cieartitle to the Subject Property following the
Court’s disposition of ali third-party interests, orl if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(0), for the filing of third party petitions.

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7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).
iT |S SO ORDERED this g 9 day of Q\Clj\°"‘_ , 2005.

@m‘OM.

JO P. iVicCALLA
U ted States District Judge

 

PRESENTED BY:

TERRELL L. HARR|S

United States Attorney
By: /)W

lsToPHER E’. coTTEN
ssistant United States Attorney

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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN D|STRiCT OF TENNESSEE
WESTERN DIV|SION

UN|TED STATES OF AN|ER|CA, *

P|aintiff, *
vs. * Criminal No. 04-20081-|\/|| V
BiLLY THON|AS PHiLLiPS, *

Defendant. *

 

LEGAL NOT|CE

 

Take notice that on Q@-zq. 2095 . the United States District Court for the
Western District of Tennessee, Western Division, entered a Pre|iminary Order of Forfeitu re
ordering that all right, title and interest of the defendant Bii|y Thomas Phii|ips in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Titie 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personai, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personai, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited _to the

following:

1)
2)

3)

4)

5)

6)

One (1) |Viaxeii Niini CR-R 210mb;

HlVAL iViultimedia So|utions CD-
Recordab|e Disk;

Compaq Presario Laptop Computer,
serial number V2AKSBZ5303;

Generic Cione Computer with Gold
Phi|iips CD-RO|V| & Creative Live Drive;

Packard Bell Desktop Computer, serial
number, N368022180;

Generic Cione Computer, SN D87508B63.

Ail pursuant to Titie 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

Genera| or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioners alleged interest in the property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioners right, titie, or

interest in each of the forfeited properties and any additional facts supporting the

petitioners claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 133 in
case 2:04-CR-20081 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

ENNESSEE

 

Christopher E. Cotten

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Honorable J on McCalla
US DISTRICT COURT

